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                          UNITED STATES DISTRICT COURT
                                             for the
                                  DISTRICT OF MASSACHUSETTS

                                                           )
MOHAN A HARIHAR,                                           )
                                                            )
                          Plaintiff                         )
                                                            ) Docket No. 20-cv-12293
                 v.                                         )
                                                            )
JEANNE D’ARC CREDIT UNION, et al                            )
                                                            )
                          Defendants                        )

PLAINTIFF RESPONSE TO [ECF NO. 25] – ISSUED WITHOUT JURISDICTION AND
 FORMAL REPORT DELIVERED TO: (1) CHIEF JUDGE – F. DENNIS SAYLOR; (2)
    GOVERNOR CHARLIE BAKER (R-MA); AND (3) PRESIDENT JOE BIDEN

The Plaintiff, Mohan A. Harihar - a pro se litigant with no legal experience, respectfully

prefaces this RESPONSE to inform the Court that [ECF No. 25] – is a judicial order that is

considered entirely void since it has been issued without jurisdiction. As a matter of record, the

Plaintiff has evidenced multiple judicial violations that show the presiding US District Court

Judge – Hon. Indira Talwani is clearly disqualified from ruling further on this, or any related

case. However, instead of recusing herself, Judge Talwani has either: (1) Made false and/or

deceptive statements about the Plaintiff’s evidenced claims; or (2) Brushed these evidenced

claims aside entirely, as if never mentioned - in order to arrive at a corrupt and pre-determined

outcome. The patterns of corrupt conduct evidenced here are consistent with the judicial failures

associated with the Plaintiff’s other three (3) Federal complaints which remain ongoing in this

US District Court1 – and collectively, has led to an unprecedented ELEVEN (11) recusals of



1
 The Plaintiff’s other three (3) related Federal complaints include: (1) HARIHAR v US BANK et al, Docket No.
15-cv-11880; (2) HARIHAR v THE UNITED STATES, Docket No. 17-cv-11109; and (3) HARIHAR v
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record.2 A partial summary (overview) of the evidenced claims impacting Judge Talwani’s loss

of jurisdiction in this case includes (but is not limited to) the following:

    1. False Statements Regarding Undisclosed Conflicts of Interest – In [ECF No. 24], the

         Plaintiff evidenced undisclosed Conflicts of Interest that were recently discovered

         between Judge Talwani and Bank Defendants in the related Civil complaint – HARIHAR

         v US BANK et al. Financial Disclosures show that Judge Talwani has owned stock with

         Bank Defendants - WELLS FARGO and/or US BANK since 2014. Upon review of

         [ECF No. 25], Judge Talwani does not deny owning stock with the referenced

         Defendants and fails recognize that all orders and judgements associated with -

         HARIHAR v US BANK et al, Docket No. 15-cv-11880, have been impacted by recusal and

         are considered entirely void. By ignoring the recusal and its legal impact, Judge

         Talwani’s statements of record show that she is purposefully trying to deceive this Court.

         Any suggestion that the Plaintiff has not (at minimum) evidenced an undisclosed

         Conflict(s) of Interest is factually false. At minimum, the judge’s undisclosed Conflict of

         Interest violates 18 U.S. CODE § 208 and her deceptive statements are perceived as

         violations to Fed. R. Civ. P. 60(b)(3) – Judicial Fraud on the Court, which in itself

         shows cause for immediate disqualification. Under Rule 60, all Judicial Immunity is

         considered waived, when Fraud on the Court has been evidenced, as is the case here.



         Based on the Plaintiff’s interpretation of the law, the undisclosed Conflicts of Interest

         show that the judge never had jurisdiction to rule on this docket – All orders,



HOWARD et al, Docket No. 18-cv-11134. In all three cases, litigants are still waiting for the Court to re-establish
jurisdiction, after voiding/vacating all orders/judgements related to disqualification and/or recusal.
2
  The referenced recusals do not take into account disqualified judicial officers who have refused to recuse, despite
evidenced judicial misconduct claims of record.
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including the disqualified Judge’s efforts to dismiss the Plaintiff’s complaint, are entirely

void. Therefore, there has been no “Tolling of Time” and no violation to Local Rule 4.1.

EVEN IF there was a tolling of time (which there is not) – and IF jurisdiction was not

already an issue (which it clearly is), additional judicial failures (at minimum) include the

following:

             a. Refusing to assist the Plaintiff with the Appointment of Legal Counsel

                under 28 U.S. Code § 1915, where clearly, the Plaintiff has already

                demonstrated for the record that he has satisfied all requirements

                warranting the Court’s assistance, including the four-factor test.

                Considering the complexity and totality of legal issues – both here and in

                the related dockets, refusing to assist the Plaintiff with the assistance of

                counsel shows the Judge’s intention to tilt the scales of justice heavily in

                favor of the Defendants.

             b. As a matter of record, the Plaintiff filed a request to STAY proceedings

                until the Court initiated corrective action pertaining to evidenced Judicial

                Treason, Criminal RICO violations involving Clerks of the Court, Mail

                Fraud and jurisdiction issues in the related cases. Judge Talwani has

                ignored these evidenced claims entirely, as if never mentioned.

             c. The referenced violations to Local Rule 4.1 are both irrelevant and

                improperly stated, since: (1) It’s been evidenced that Judge Talwani has no

                jurisdiction in this case and therefore, there’s been no tolling of time; and

                (2) the unresolved judicial, clerk & jurisdiction issues – at minimum,

                clearly warrants a stay of proceedings until resolved.
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2. Color of Law violations/Criminal Complaints – The Court is respectfully reminded

   that Based on the Plaintiff’s interpretation of the law - Color of Law violations are

   considered to be evidenced both here and in the related civil complaint under 18 U.S.C.

   §242; 18 U.S.C. §245; 42 U.S.C. §1983. Completed COL Forms filed against both

   Judge Talwani and recused US District Court Judge – Hon. Allison Dale Burroughs

   are part of the record, as are formal criminal complaints filed with the FBI/DOJ.

3. Judicial Treason Violations – As required under ARTICLE III and 18 U.S. CODE

   § 2381, this criminal Treason violation has been formally reported (via email

   communication) directly to: (1) The Governor of Massachusetts - Hon. Charlie Baker

   (R-MA); (2) US District Court Chief Judge - Hon. F. Dennis Saylor; and (3) The

   President of the United States - Joe Biden (separately via www.whitehouse.gov). The

   US Department of Justice (DOJ) and Congressional leaders have been necessarily

   updated as the severity of evidenced criminal violations warrant removal from the Bench

   A copy of the referenced legal communications are attached as reference, along with

   received communication from The White House (See Attachment A).



   These egregious and clearly criminal abuses of judicial power cannot be allowed to

   continue any further without accountability. I am an American-born Citizen who loves

   his Country and the Commonwealth of Massachusetts. HOWEVER, based on my

   interpretation of the law, these judicial failures that continue to be evidenced are an

   absolute disgrace - severely damaging the integrity of the judicial branch of

   government. NO AMERICAN should EVER have to endure such abuses of power - nor
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       should they EVER be forced to represent themselves, considering the complexity,

       severity & totality of these evidenced legal issues.



       Finally, the Plaintiff re-states that he is an American-born Citizen whose Father: (1)

       respectfully came to these United States from India; (2) received a PHD in Nuclear

       Physics from Columbia University; (3) became a US Citizen by following Federal laws

       pertaining to US Citizenship; and (4) had a successful 43-year career as a Professor at the

       University of Massachusetts (Lowell). I would be remiss if I did not say that as an Indian-

       American – it is beyond disappointing when evidenced criminal claims irrefutably show

       that Judge Talwani – also an Indian American, has evidenced the same patterns of

       corruption as the other identified recused/disqualified judicial officers of record. These

       evidenced judicial failures are a stain on a well-respected Indian-American Community.

        It remains my sincere hope that this Court will finally address these egregious abuses of

       judicial power and initiate corrective action. Thank you for your attention to this very

       serious and sensitive legal matter.



                                    Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

knowledge, information, and belief that this Plaintiff Response: (1) is not being presented for an

improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of

litigation; (2) is supported by existing law or by a non-frivolous argument for extending,

modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if

specifically so identified, will likely have evidentiary support after a reasonable opportunity for
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further investigation or discovery; and (4) the Notice otherwise complies with the requirements

of Rule 11.



Respectfully submitted this 9th Day of November, 2021.




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